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wEsTERN oiv\s\oN 93 F-U@ `~> ‘
uNlTEo sTATEs oF AMER\cA
Plaintiff
vs.
cR. No. 05-20265-0
JosEPH sTEvEN HANo
Defendant.

 

ORDER ON CONT|NUANCE AND SF’EC|FY|NG PER|OD OF EXCLUDABLE DELA¥
AND SETT|NG

 

 

This cause has been scheduled for a report date on August 25, 2005. Counse| for
the defendant moved for a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the oral motion and reset the trial date to October 3, 2005 with
a rep_ort date of Thursdr=\g¢l Segtember 22, 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor
of the Federal Bui|ding, Nlemphis, TN.

The period from August 10, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(B)(B)(iv) because the ends of]ustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T lS 80 ORDERED this ¢_:EZ day of August, 2005.

  
    
 

RN|CE B. ONALD
NlTED STATES DlSTRlCT JUDGE

this document entered on the docket sheetln o ' e
with Rule 55 and/or 32{b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 13 in
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Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Memphis7 TN 38103--552

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

